            Case 2:20-cr-00024-SAB                  ECF No. 150            filed 10/20/20           PageID.380 Page 1 of 6
                                                                                                                          FILED IN THE
 AO 245B (Rev. 09/19) Judgment in a Criminal Case                                                                     U.S. DISTRICT COURT
                                                                                                                EASTERN DISTRICT OF WASHINGTON
                      Sheet 1

                                                                                                                  Oct 20, 2020
                                        UNITED STATES DISTRICT COURT                                                  SEAN F. MCAVOY, CLERK
                                                     Eastern District of Washington

             UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                        v.
               JAMES THOMAS BROWN                                          Case Number:          2:20-CR-00024-SAB-3
                                                                           USM Number:           21691-085
                                                                                                   John Gregory Lockwood
                                                                                                        Defendant's Attorney




THE DEFENDANT:
 ☒ pleaded guilty to count(s)         4 of the Indictment
       pleaded nolo contendere to count(s)
 ☐     which was accepted by the court.
       was found guilty on count(s) after a
 ☐     plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section               /             Nature of Offense                                                    Offense Ended               Count
  18 U.S.C. § 472 - PASSING OF COUNTERFEIT CURRENCY                                                                  11/22/2019                 4




        The defendant is sentenced as provided in pages 2 through 7                  of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) all remaining counts                                              ☐ is ☒ are dismissed on the motion of the United States
      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                10/20/2020
                                                                Date of Imposition of Judgment




                                                                Signature of Judge


                                                                The Honorable Stanley A. Bastian              Chief Judge, U.S. District Court
                                                                Name and Title of Judge
                                                                10/20/2020
                                                                Date
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                      Sheet 4 - Probation

 DEFENDANT: JAMES THOMAS BROWN
 Case Number: 2:20-CR-00024-SAB-3


                                                         PROBATION
You are hereby sentenced to probation for a term of:   5 years as to count 4




                                           MANDATORY CONDITIONS

 1.    You must not commit another federal, state or local crime.
 2.    You must not unlawfully possess a controlled substance, including marijuana, which remains illegal under federal law.
 3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
       release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             ☐ The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
 4.    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.    ☐ You must participate in an approved program for domestic violence. (check if applicable)
 7.    ☐ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
              applicable)
 8.    You must pay the assessment imposed in accordance with 18 U.S.C. § 3013
 9.    If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10.   You must notify the court of any material change in your economic circumstances that might affect your ability to pay
       restitution, fines, or special assessments.

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.
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                      Sheet 4A – Probation

 DEFENDANT: JAMES THOMAS BROWN
 Case Number: 2:20-CR-00024-SAB-3

                               STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the
     time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different
     time frame.
 2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
     how and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
     from the court or the probation officer.
 4. You must be truthful when responding to the questions asked by your probation officer.
 5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
     officer within 72 hours of becoming aware of a change or expected change.
 6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
     from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
     officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
     or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation
     officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
     within 72 hours of becoming aware of a change or expected change.
 8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
     been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
     permission of the probation officer.
  9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
     that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
     nunchakus or tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
     without first getting the permission of the court.
 12. You must follow the instruction of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

 Defendant’s Signature                                                                            Date
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                        Sheet 4D – Probation

 DEFENDANT: JAMES THOMAS BROWN
 Case Number: 2:20-CR-00024-SAB-3

                                    SPECIAL CONDITIONS OF SUPERVISION

1. You must not communicate, or otherwise interact, with J.I., either directly or through someone else,
without first obtaining the permission of the probation officer. You must not enter the premises or loiter
within 1000 feet of the victim’s residence or place of employment.

2. You must complete a mental health evaluation and follow any treatment recommendations of the
evaluating professional which do not require forced or psychotropic medication and/or inpatient
confinement, absent further order of the court. You must allow reciprocal release of information
between the supervising officer and treatment provider. You must contribute to the cost of treatment
according to your ability to pay.

3. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by
a probation officer, at a sensible time and manner, based upon reasonable suspicion of contraband or
evidence of violation of a condition of supervision. Failure to submit to search may be grounds for
revocation. You must warn persons with whom you share a residence that the premises may be subject
to search.

4. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment
provider, enter into and successfully complete an approved substance abuse treatment program, which
could include inpatient treatment and aftercare upon further order of the court. You must contribute to
the cost of treatment according to your ability to pay. You must allow full reciprocal disclosure
between the supervising officer and treatment provider.

5. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and
sweat patch testing, as directed by the supervising officer, but no more than 6 tests per month, in order
to confirm continued abstinence from these substances.

6. You must not enter into or remain in any establishment where alcohol is the primary item of sale.
You must abstain from alcohol and must submit to urinalysis and Breathalyzer testing as directed by
the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence
from this substance.
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                           Sheet 5 – Criminal Monetary Penalties

    DEFENDANT: JAMES THOMAS BROWN
    Case Number: 2:20-CR-00024-SAB-3

                                              CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                 Restitution           Fine                      AVAA Assessment*           JVTA Assessment**
    TOTALS         $100.00                    $.00                  $.00                      $.00                       $.00

    ☐ The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to 18 U.S.C. § 3573(1) because
         reasonable efforts to collect this assessment are not likely to be effective and in the interests of justice.
    ☐    The determination of restitution is deferred until        . An Amended Judgment in a Criminal Case (AO245C) will be
         entered after such determination.
    ☐    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
           the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
           before the United States is paid.

Name of Payee                                                         Total Loss***           Restitution Ordered       Priority or Percentage




    ☐ Restitution amount ordered pursuant to plea agreement            $

    ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
    ☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      ☐ the interest requirement is waived for the       ☐ fine                               ☐ restitution
      ☐ the interest requirement for the                 ☐ fine                               ☐ restitution is modified as follows:


*   Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                         Sheet 6 – Schedule of Payments

 DEFENDANT: JAMES THOMAS BROWN
 Case Number: 2:20-CR-00024-SAB-3

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A ☐         Lump sum payments of $                                      due immediately, balance due
   ☐         not later than                                                        , or
   ☐         in accordance with        ☐ C, ☐ D, ☐ E, or        ☐ F below; or
 B ☒         Payment to begin immediately (may be combined with ☐ C, ☐ D, or                              ☒ F below); or
 C ☐         Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                              (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or
 D     ☐     Payment in equal    (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                                (e.g., months or years), to commence            (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or
 E     ☐     Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
 F     ☒     Special instructions regarding the payment of criminal monetary penalties:

     While on probation, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the defendant's
     net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the following address until monetary penalties are paid in full: Clerk, U.S.
District Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐ Joint and Several1
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.

 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs.
